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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF OREGON

ANNAMARIE MOTIS,                               )    Case No.
                                               )
              Plaintiff,                       )    COMPLAINT FOR DAMAGES
       vs.                                     )    Violations of: Title IX of the Education
                                               )    Amendments of 1972, 20 U.S.C. § 1681(a);
DAVID JUBB and LINFIELD COLLEGE,               )    Battery; and Negligence
           Defendant.                          )
                                               )
                                               )    JURY TRIAL DEMAND
                                               )
                                               )    PRAYER: $550,000.00 or an amount to be
                                               )    proven at trial.
                                               )

                     COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, AnnaMarie Motis ("Motis" or “plaintiff”), by and through her attorneys, Erin

Greenawald and Sean J. Riddell, herein state and allege as follows:

                                           PARTIES

                                               1.

       Defendant David Jubb, (“Jubb” or “defendant”) is and at all times mentioned herein is a

resident of Oregon and was a member of Linfield College’s Board of Trustees.

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                                                   2.

          Defendant Linfield College (“Defendant College” or “Linfield”) is a private university

located in Yamhill County, Oregon. Linfield accepts federal funding.

                                                   3.

          AnnaMarie Motis is an adult female, resident of Oregon and Alaska, an undergraduate

student at Linfield College, and was the student’s representative to Linfield College’s Board of

Trustees in 2018-2019.

                                   JURISDICTION AND VENUE

                                                   4.

          This court has subject matter jurisdiction over this case pursuant to 28 U.S.C. § 1343,

which gives district courts jurisdiction over (a) any civil action authorized by law to be brought

by any person to redress the deprivation, under color of any State Law, statute, ordinance,

regulation, custom or usage, of any right, privilege or immunity secured by the Constitution of

the United States or by any Act of Congress providing for equal rights of citizens or of all

persons within the jurisdiction of the United States; and (b) any civil action to recover damages

or to secure equitable relief under any Act of Congress providing for the protection of civil

rights.

                                                   5.

          Ms. Motis brings this action to redress a hostile educational environment pursuant to Title

IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a), as more fully set forth herein.

                                                   6.

          Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), since all defendants

reside or resided in this district and the events giving rise to the claims occurred in this district.

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                                                 7.

        The court has jurisdiction over Ms. Motis’ pendent state law claims under 28 U.S.C. §
1367.
                                      APPLICABLE LAW

                                                 8.

        Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. § 1681(a) states

that:

        No person in the United States shall, on the basis of sex, be excluded from
        participation in, be denied the benefit of, or be subjected to discrimination under
        any education program or activity receiving Federal financial assistance…

                                                 9.

        Title IX is implemented through the Code of Federal Regulations. See 34 C.F.R. § Part

106.

                                                 10.

        34 C.F.R. § 106.8(b) provides:

               …A recipient shall adopt and publish grievance procedures providing for
        prompt and equitable resolution of student and employee complaints alleging any
        action which would be prohibited by this part.

                                                 11.

        In Gebser v. Lago Vista Independent School District, 524 U.S. 274 (1988), the United

State Supreme Court recognized that a recipient of federal educational funds intentionally

violates Title IX, and is subject to a private damages action, where the recipient is “deliberately

indifferent” to known acts of teacher-student discrimination.

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                                             FACTS

                                               12.

       On or about February 15, 2019, Ms. Motis and defendant attended a meeting of the Board

of Trustees at Walker Hall and later a Faculty-Trustee Dinner at the Michelbook Country Club.

Ms. Motis and defendant sat at the same table with other trustees: Lucinda Day Fournier, Mindy

Legard Larson and David Baca. At the end of the dinner, trustees other than Ms. Motis decided

to continue the evening at Nick’s Backroom in McMinnville and invited Ms. Motis to attend.

                                               13.

       While other members of the party drove to Nick’s Backroom, defendant insisted that Ms.

Motis accompany him in an ‘Uber’ ride to the restaurant. Defendant provided Ms. Motis with

$40 cash and asked Ms. Motis to use the Uber application on her phone to order a ride. While

waiting for the Uber driver defendant stated to Ms. Motis, “So, we will go to Nick’s and see

everybody and then I’m staying at the Atticus so I’ll bring you over and end the night there.

Super easy. I love the Atticus. What a great place.” The Atticus is a luxury hotel located in

downtown McMinnville, Oregon.

                                               14.

       Ms. Motis and defendant waited for the Uber ride in the foyer of Michelbook Country

Club. While they waited, defendant invaded Ms. Motis’ personal space, grabbed Ms. Motis and

pulled Ms. Motis’ body to his body. Ms. Motis stepped back and politely told defendant, “I feel

like that’s a little close.” Defendant was undeterred, he pulled Ms. Motis close to him again,

moved his hand into Ms. Motis’ skirt, and aggressively grabbed Ms. Motis’ buttocks.

Defendant’s bare hand touched Ms. Motis’ bare buttocks. Ms. Motis again stepped away and



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stated “that’s definitely not something I’m comfortable with.” Defendant left the foyer stating he

was going to “go find more wine.”

                                               15.

         Another member of the Board of Trustees, Jennifer Williams, then entered the foyer.

Mrs. Williams asked Ms. Motis if she “was okay” and offered to provide Ms. Motis and

defendant with transportation to Nick’s Backroom. Ms. Motis accepted the offer. Ms. Motis,

defendant, Mrs. Williams and Mr. Erika Marksbury traveled to Nick’s Backroom. Mrs.

Marksbury drove.

                                               16.

         When Ms. Motis and defendant arrived in the area of 3rd street in downtown McMinnville

they were greeted by Mr. Baca. Mr. Baca informed them that Nick’s Backroom was closed and

the group was headed to The Oak, another bar in downtown McMinnville. Ms. Motis,

defendant, Lucinda Fournier, Mark Patterson and Mr. Baca sat at very narrow table at The Oak.

Ms. Motis sat opposite of Mr. Judd. Mr. Judd aggressively bumped Ms. Motis’ legs under the

table. Ms. Motis moved her chair to be even further away from Mr. Judd, however Mr. Judd

reached over with his foot and pulled Ms. Motis’ chair closer to him. Defendant then thrust his

hand under defendant’s dress and thrust his fingers into defendant’s crotch. Defendant’s fingers

were able to touch Ms. Motis’ genitalia.

                                               17.

         Ms. Motis immediately removed herself from the table and told the group she need to

leave.

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                                                18.

       Ms. Motis reported Mr. Judd’s sexual assault to the McMinnville Police Department,

cooperated in the criminal investigation and continues to cooperate in the criminal investigation.

                                                19.

       Within a week of Mr. Judd’s sexual assault, Ms. Motis reported the incident to Mr. Baca

and Linfield College. Mr. Baca assured Ms. Motis that Mr. Judd would be removed from the

Board of Trustees by May, 2019.

                                                20.

       On or about the first week in June, 2019, Mr. Baca sent the following correspondence to

members of the Board of Trustees:

       Dear Board of Trustees,
       Last week, Dave Jubb advised me he was resigning from the Board due to health
       concerns. Dave provided valuable service to the board and the College over
       many decades. He has been a classmate, friend, and associate of many of us for
       years, and for those so moved, it is appropriate to express gratitude for his
       positive contributions, but in doing so we should respect Dave’s privacy.
       Best Regards,
       David Baca
       Chair of the Board

                                                21.

       On July 9, 2019 Linfield College, pursuant to their Title Nine obligations, conducted an

interview with Ms. Motis. Ms. Motis voluntarily participated in the interview. As of the filing of

this complaint, Linfield College has not completed the investigation and has indicated that it has

no estimate for completion of the investigation.

                                                22.

       There is sufficient information and belief to allege that Linfield College was aware of

previous inappropriate sexual conduct perpetrated by Mr. Jubb. There is sufficient information

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and belief to allege that Ms. Motis’ criminal complaint is pending review by the Yamhill County

District Attorney’s office.

                                                 23.

       Ms. Motis reserves the right to amend the complaint to include punitive damages against

 defendant Mr. Jubb pursuant to ORS 31.725 – 31.730

                                                 24.

       Ms. Motis reserves the right and puts Linfield College on notice that Ms. Motis intends to

amend this complaint to include claims for damages against Linfield College, including by not

limited to negligence, negligent infliction of emotional distress and violations of Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681(a).

                             FIRST CLAIM FOR RELIEF
                     VIOLATION OF TITLE IX 20 U.S.C. § 1681, et seq.
                         (DEFENDANT LINFIELD COLLEGE)

                                                 25.

       Ms. Motis re-alleges paragraphs 1 through 24.

                                                 26.

       The sex-based harassment articulated above were so severe, pervasive, and objectively

offensive that it deprived Ms. Motis of access to educational opportunities or benefits provided

by Defendant Linfield College.

                                                 27.

       Defendant Linfield College created and/or subjected Ms. Motis to a hostile educational

environment in violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a),

in one or some, but not exclusive to acts:

       a. Ms. Motis is and was a member of a protected class;

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         b. Ms. Motis was subjected to sexual harassment in the form of a sexual assault by a

            member of the school’s Board of Trustees;

         c. Ms. Motis was subjected to harassment based on her sex; and

         d. Ms. Motis was subjected to a hostile educational environment created by the

            Linfield’s failure to property investigate and/or address Defendant Jubb’s previous

            allegations of sexual assault or sexually inappropriate behavior.

                                                28.

         Defendant Linfield College and its officials had actual knowledge of the sexual assault

and the resulting harassment of Ms. Motis created by its failure to investigate and discipline Ms.

Motis’ attacker in a timely manner and consistent with the school’s policy, federal, and/or state

law.

                                                29.

         Defendant Linfield’s failure to promptly and appropriately respond to the alleged sexual

harassment, resulted in Ms. Motis, on the basis of her sex, being excluded from participation in,

being denied the benefits of, and being subjected to discrimination in the College’s education

program in violation of Title IX.

                                                30.

         Defendant Linfield failed to take immediate, effective remedial steps to resolve Ms.

Motis’ compliant of sexual assault and instead acted with deliberate indifference toward Ms.

Motis.

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                                                31.

       Defendant Linfield persisted in their actions and inaction even after it had actual

knowledge of Defendant Jubb’s previous sexual inappropriate behavior and/or Defendant Jubb’s

sexual assault of Ms. Motis.

                                                32.

       Defendant Linfield engaged in a pattern and practice of behavior designed to discourage

and dissuade students who had been sexually assaulted from seeking prosecution and protection

and from seeking to have sexual assaults from being fully investigated.

                                                33.

       This policy and/or practice constituted disparate treatment of females and had a disparate

impact on female students.

                                                34.

       Ms. Motis has suffered emotional distress and psychological damage, and her character

and standing in her community have suffered from the harassment fostered as a direct and

proximate result of Defendant Linfield College’s deliberate indifference to her rights under Title

IX.

                                                35.

       Ms. Motis is entitled to reasonable attorney fees and cost pursuant to 42 U.S.C. §

1988(b).

                                                36.

       As a result of defendant’s abuse, Ms. Motis suffered economic damages of approximately

$100,000; medical/counseling expenses of approximately $50,000, and future medical expenses

of $100,000, the actual amounts to be proven at trial.

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                                                 37.

       As a further result of defendant’s assault, Ms. Motis suffered non-economic losses,

including, but not limited to, emotional injury and mental anguish, trauma, an inability to form

close relationships, nightmares and sleep disruption, mistrust in the intentions of others, lack of

self-esteem, depression, and anxiety. Ms. Motis prays for non-economic damages arising from

the acts alleged in this claim in the amount of $300,000.00.

                                SECOND CLAIM FOR RELIEF
                                       BATTERY

                                                 38.

       Ms. Motis re-alleges paragraphs 1 through 15.

                                                 39.

       On or about February 15, 2019, Ms. Motis did not consent to Mr. Jubb’s physical

contacts.

                                                 40.

       As a result of defendant’s abuse, Ms. Motis suffered economic damages of approximately

$100,000; medical/counseling expenses of approximately $50,000, and future medical expenses

of $100,000, the actual amounts to be proven at trial.

                                                 41.

       As a direct and proximate result of Defendant’s breach of duty Ms. Motis sustained

physical injuries, a long period of recovery, and mental anguish.

                                                 42.

       As a further result of defendant’s assault, Ms. Motis suffered non-economic losses,

including, but not limited to, emotional injury and mental anguish, trauma, an inability to form

close relationships, nightmares and sleep disruption, mistrust in the intentions of others, lack of
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self-esteem, depression, and anxiety. Ms. Motis prays for non-economic damages arising from

the acts alleged in this claim in the amount of $300,000.00.

                                       PRAYER
WHEREFORE, Ms. Motis prays for relief as follows:

      FIRST CLAIM FOR RELIEF- TITLE IX- DEFENDANT LINFIELD COLLEGE

        1. Economic damages in the amount of $250,000.00;

        2. Non-economic damages in the amount of $300,000.00;

       3. Punitive Damages;

       4. Injunctive relief requiring Defendant Linfield College to take effective steps to

prevent sex-based discrimination and harassment, including sexual assault, in its education

programs; fully investigate conduct that may constitute sex-based harassment and/or sexual

assault; appropriately respond to all conduct that may constitute sex-based harassment and/or

sexual assault; and mitigate the effects of harassment and/or assault including by eliminating any

hostile environment that may arise from or contribute to it.

       5. Statutory interest;

       6. Costs; and

       7. Reasonable attorney fees.

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                  SECOND CLAIM FOR RELIEF – SEXUAL BATTERY

       1. Economic damages in the amount of $250,000.00;

       2. Non-economic damages in the amount of $300,000.00; and

      3. Costs.


      DATED this 10th day of December 2019.
                                                  By: /s/Erin Greenawald
                                                  Erin Greenawald, OSB No. 990542


                                                  By:/s/ Sean J. Riddell
                                                  Sean J. Riddell, OSB No. 013943
                                                     Attorneys for Plaintiff


PLAINTIFF REQUESTS A JURY TRIAL




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